             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 2:13-cr-00012-MR-DLH-1


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                  ORDER
                                )
JACKIE LEE RATTLER,             )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Defendant’s letter, which the

Court construes as a motion requesting a copy of various court filings,

including the Defendant’s Presentence Report [Doc. 278].

     The Defendant was sentenced to a term of 108 months’ imprisonment

on December 16, 2014.      [Doc. 204].   The Fourth Circuit affirmed his

conviction and sentence on February 29, 2016. [Doc. 252]. The Defendant

subsequently filed a motion to vacate pursuant to 28 U.S.C. § 2255. [Doc.

262]. This Court dismissed the Defendant’s motion to vacate and denied a

certificate of appealability on September 23, 2016.      [Doc. 274].     The

Defendant has appealed the denial of his motion to vacate. [Doc. 279].

     In his letter, the Defendant appears to seek copies of the following

documents at the Government’s expense: (1) Acceptance of Guilty Plea; (2)


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Presentence Report; (3) Objections to Presentence Report; (4) Supplement

to Presentence Report; and (5) Sealed Sentencing Memorandum. As a

certificate of appealability was denied, the Court lacks jurisdiction to grant

the Defendant’s request. See Ray v. United States, No. 5:06-cr-12-BO, 5:09-

cv-2-BO, 2010 WL 2813379, at *1 (E.D.N.C. July 16, 2010). In any event,

however, the Defendant has failed to demonstrate a particularized need for

his Presentence Report and the related filings.              See United States v.

Velasquez, No. 5:10-CR-00042, 2012 WL 3307264, at *1 (W.D.N.C. Aug.

13, 2012) (Voorhees, J.) (holding that a copy of presentence report may be

obtained from the district court only upon a showing of particularized need)

(citing United States v. Williams, No. 88-7340, 1989 WL 152422, at *2 (4th

Cir. Dec. 11, 1989)).   For all of these reasons, the Defendant’s motion must

be denied.

      IT IS, THEREFORE, ORDERED that the Defendant’s letter [Doc. 278],

which the Court construes as a motion, is DENIED.

      IT IS SO ORDERED.          Signed: December 15, 2016




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